                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA


                                          PRO MEMO

                                                                02/21/2024 09:30 AM
                                                                COURTROOM 6D, 6th Floor
HONORABLE GRACE ROBSON
CASE NUMBER:                                                    FILING DATE:
6:23-bk-03560-GER                         13                       08/31/2023
Chapter 13
DEBTOR:                Roberto Hernandez


DEBTOR ATTY:           NA
TRUSTEE:               Laurie Weatherford
HEARING:
Confirmation Hearing
1) Chapter 13 Plan (Doc #5)
US Bank's Objection (Doc #19)
Debtor's Response to US Bank's Objection (Doc #26)
Debtor's (Motion) to Deny US Bank's Objection (Doc #27)
2) Debtor's Objection to Claim(s). 3.1 of Capital One N.A. (Doc #34)
Capital One's Response to Objection to Claim(s). 3.1 of Capital One N.A. (Doc #41)
3) Debtor's Objection to Claim(s). 5.1 of U.S. Bank (Doc #36)
US Bank's Response to Objection of Claim (Doc #42)
4) Debtor's Objection to Notice of Mortgage Payment Change (Doc #51)
Notice of Mortgage Payment Change Related to Claim 5 (Doc dated 1/19/24)
PENDING:
Trustee's Objection to Claim(s). Claim No. 1 of Ashley Funding Services.LLC (Doc #47) filed 1/16/24 w/NN

APPEARANCES:: Roberto Hernandez (Debtor); Laurie Weatherford (Trustee); Lorne Durket (US Bank and Capital One Atty);

RULING:
Confirmation Hearing

1) Chapter 13 Plan (Doc #5) - cont. to April 17, 2024 at 2:45 pm (AOCNFNG);

 2) Debtor's Objection to Claim(s). 3.1 of Capital One N.A. (Doc #34) - Overruled:ORDER BY CHAMBERS;

3) Debtor's Objection to Claim(s). 5.1 of U.S. Bank (Doc #36) - Overruled:ORDER BY CHAMBERS;

4) Debtor's Objection to Notice of Mortgage Payment Change (Doc #51) - Overruled:ORDER BY CHAMBERS;
 (gww).
Proposed Orders, if applicable, should be submitted within three days after the date of the hearing - Local Rule 9072-1(c). Failure
to submit proposed orders before this case/adversary proceeding is closed will result in motions/objections/applications being
denied as moot. This docket entry/document is not an official order of the Court.
                                  Case Number 6:23-bk-03560-GER                       Chapter 13
